Case 1:23-mj-00203-MAU Document 3 Filed 09/06/23 Page 1 of 1

AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the
District of Columbia
United States of America
a Case: 1:23-mj-00203

Benjamin Michael Shuler ) Assigned To : Upadhyaya, Moxila A.
) Assign. Date : 8/14/2023
) Description: Complaint W/ Arrest Warrant

ae )
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Benjamin Michael Shuler os
who is accused of an offense or violation based on the following document filed with the court:

© Indictment O Superseding Indictment ©} Information © Superseding Information [J Complaint
©) Probation Violation Petition O Supervised Release Violation Petition OViolation Notice O Order of the Court

This offense is briefly described as follows:
18 U.S.C. § 231(a)(3) - (Civil Disorder),
18 U.S.C. § 111(a)(1) - (Assaulting, Resisting, or Impeding Certain Officers),
18 U.S.C. § 1752(a)(1) - (Entering and Remaining in a Restricted Building or Grounds),
18 U.S.C. § 1752(a)(2) - (Disorderly and Disruptive Conduct in a Restricted Building or Grounds),
18 U.S.C. § 1752(a)(4) - (Engaging in Physical Violence in a Restricted Building or Grounds),

40 U.S.C. § 5104(e)(2)(D) - (Disorderly Conduct in a Capitol Building). ae
40 U.S.C. § 5104(e)(2)(F)- (Act of Physical Violence in the Capitol Grounds or Buildings) My fs / “y
Date: 08/14/2023 We,
Judge's signature
City and state: _ Washi De. Honorable Moxila A. Upadhyaya, __
United States Magistrate Judge
Return

This warrant was received on (date) @,{4+ 23 , and the person was arrested on (date) 7, 6,23

at (city and state) Lancast(, Olio —
fas
Date: 4.6.23.

"STi

she Pondned) Canetle E ‘By

Printed name and title

0)

